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   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12   BRYCE ABBINK, individually and on          Case No. 8:19-cv-01257-JFW-PJWx
  13   behalf of all others similarly situated,   Hon. John F. Walter
  14                   Plaintiff,                 DEFENDANT EXPERIAN
             v.                                   INFORMATION SOLUTION INC.’S
  15                                              REPLY IN SUPPORT OF MOTION
       EXPERIAN INFORMATION                       TO DISMISS PLAINTIFF’S
  16   SOLUTIONS, INC., et al.                    COMPLAINT PURSUANT TO
                                                  FEDERAL RULE OF CIVIL
  17                   Defendants.                PROCEDURE 12(b)(6)
  18                                              Date:     September 16, 2019
  19                                              Time:     1:30 p.m.
                                                  Location: 7A
  20
  21                                              Complaint Filed: June 21, 2019

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   1                                   INTRODUCTION
   2         This case concerns Experian’s sale of prescreen credit reports to Lend Tech, a
   3   purported mortgage broker, who certified that it intended to offer consumers firm
   4   offers of credit for mortgage refinancing. 1 Plaintiff claims that Experian willfully
   5   violated the FCRA by furnishing his consumer report to Lend Tech because it should
   6   have known that Lend Tech lacked a permissible purpose and impermissibly sold or
   7   transmitted his total federal student loan debt to UDS. Plaintiff further claims that
   8   Experian’s alleged disclosure of his total federal student loan debt violated
   9   § 1681b(c) of the FCRA because it identified his relationship to the U.S. Department
  10   of Education (“USDE”). Plaintiff is wrong on both counts.
  11         As Experian demonstrated in its opening brief, Plaintiff fails to allege that
  12   Experian knew that Lend Tech was not issuing firm offers of credit or that it was
  13   reselling Plaintiff’s (or any other consumer’s) information to UDS. In response,
  14   Plaintiff concedes that it made no such allegations. Instead, he argues that Experian
  15   is one of the largest CRAs, and thus should have been aware of its obligations under
  16   the FCRA. But Plaintiff’s contentions are nothing more than conclusory and generic
  17   assertions, and fail to identify any procedures Experian purportedly lacked in vetting
  18   Lend Tech. Consequently, Plaintiff cannot show that Experian acted in reckless
  19   disregard of its obligations under the FCRA.
  20         Plaintiff’s claim that Experian violated § 1681b(c) by allegedly disclosing his
  21   total federal student loan debt is equally unavailing. As Experian explained in its
  22   opening brief, a student borrower does not have a relationship with the USDE, but
  23   instead transacts solely with their respective loan servicer. In response, Plaintiff
  24   merely claims that the statute is clear on its face, and that Experian should have
  25   known that its purported transmission of federal student loan information was
  26   unlawful. But, as Plaintiff has already conceded, there is no caselaw or regulatory
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              Capitalized terms used but not defined herein shall be ascribed the same
  28   meaning as in Experian’s opening brief (ECF No. 25-1).
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   1   guidance supporting his novel theory. To the contrary, courts that have addressed
   2   prescreening in the student loan context have never indicated that disclosing a
   3   borrower’s total federal student loan debt would run afoul of § 1681b(c). Thus,
   4   Plaintiff cannot show that Experian willfully violated § 1681b(c), and the Court
   5   should prevent Plaintiff from contorting the FCRA to impose obligations on Experian
   6   that are not supported by existing law.
   7           Because Plaintiff has failed to state a claim against Experian, the Court should
   8   dismiss his complaint as to Experian without leave to amend.
   9                                        ARGUMENT
  10      I.    Count I Fails To State A Claim
  11           Plaintiff’s first cause of action alleges that Experian willfully violated the
  12   FCRA by furnishing Plaintiff’s consumer report to Lend Tech based on Lend Tech’s
  13   representation that it intended to issue firm offers of credit. But, as Experian
  14   demonstrated, Plaintiff’s allegations fail to state a claim for relief. Plaintiff does not
  15   (and cannot) plausibly allege that Experian: (i) lacked a reasonable belief that Lend
  16   Tach had a permissible purpose under § 1681b(c); (ii) failed to implement reasonable
  17   procedures in accordance with § 1681e(a); or (iii) acted willfully or in reckless
  18   disregard of its obligation under the FCRA. Accordingly, Plaintiff’s first cause of
  19   action must be dismissed.
  20           A. Experian Did Not Violate § 1681(b)(c)(1)
  21           Section 1681b(c)(1) “permits a consumer reporting agency to furnish a
  22   creditor with a consumer report in connection with a credit transaction not initiated
  23   by the consumer if ‘the transaction consists of a firm offer of credit.’” See Kennedy
  24   v. Chase Manhattan Bank USA, NA, 369 F.3d 833, 839-40 (5th Cir. 2004) (quoting
  25   15 U.S.C. § 1681b(c)(1)). This process is commonly referred to as “prescreening.”
  26   Premium Morg. Corp. v. Equifax Info. Servs., LLC, No. 07-CV-6349, 2008 WL
  27   4507613, at *2 (W.D.N.Y. Sept. 30, 2008).
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   1         In his complaint, Plaintiff alleges that Experian willfully violated
   2   § 1681b(c)(1) by furnishing his consumer report to Lend Tech because “he did not
   3   have any relationship with Lend Tech Loans, has never conducted any business with
   4   Lend Tech Loans, and has never provided any authorization to Lend Tech Loans to
   5   obtain his consumer report.” (Id. at ¶¶ 49-50.) But, as Experian explained in its
   6   opening brief, whether Plaintiff had a prior relationship with Lend Tech, or whether
   7   he authorized Lend Tech to obtain his consumer report, is irrelevant for purposes of
   8   § 1681b(c)(1). Rather, § 1681b(c)(1) permitted Experian to furnish Plaintiff’s
   9   consumer report to Lend Tech, so long as Experian had reason to believe it was doing
  10   so for the purpose of allowing Lend Tech to extend a firm offer of credit. As
  11   Plaintiff’s allegations concede, Experian furnished Plaintiff’s consumer report based
  12   on Lend Tech’s “representation that it intended to use [the] report for the purpose of
  13   a firm offer of credit.” (Compl. at ¶ 48.) Thus, Experian believed it was furnishing
  14   Plaintiff’s consumer report in accordance with § 1681b(c)(1)—i.e., to make firm
  15   offers of credit. See Henderson v. Corelogic Nat’l Background Data, LLC, 161 F.
  16   Supp. 3d 389, 397 n.7 (E.D. Va. 2016) (“[T]o show that a report was ‘furnished’ for
  17   a permissible purpose . . . a CRA need only show that it had ‘reason to believe’ that
  18   the report would be used for that purpose, and obtained appropriate certifications
  19   from its customers that the report would be used only for that purpose.” (collecting
  20   authority)).
  21         In opposition, Plaintiff does not address § 1681(b)(c)(1). Instead, he relies on
  22   Pintos v. Pac. Creditors Ass’n, 605 F.3d 665 (9th Cir. 2010), arguing that “Section
  23   1681e requires more from a credit reporting agency than merely obtaining a
  24   subscriber’s general promise to obey the law.” (Doc. 34 at 13.) As an initial matter,
  25   although Plaintiff asserts that Pintos is “on point Ninth Circuit precedent” (id.), he
  26   conveniently fails to acknowledge that the Ninth Circuit expressly refused to “opine
  27   on the meaning or scope of . . . 1681b(c) or on the practice of obtaining information
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   1   from credit reporting agencies to permit the extension of offers to prescreened
   2   customers,” Pintos, 605 F.3d at 676 n.2.
   3         Moreover, “a plaintiff bringing a claim that a reporting agency violated the
   4   ‘reasonable procedures’ requirement of § 1681e must first show that the reporting
   5   agency released the report in violation of § 1681b.” Washington v. CSC Credit Servs.
   6   Inc., 199 F.3d 263, 267 (5th Cir. 2000); see also Perrill v. Equifax Info. Servs., LLC,
   7   205 F. Supp. 3d 869, 878 (W.D. Tex. 2016) (finding that “because Plaintiffs did not
   8   show Equifax willfully violated § 1681b(a)(3)(A), they have also failed to plead a
   9   willful violation of § 1681e(a)”); Baker v. Trans Union LLC, No. 07-cv-8032, 2008
  10   WL 4838714, at *5 (D. Ariz. Nov. 6, 2008) (“Because the Court has held Ms. Baker
  11   failed to state a claim for violation of § 1681b, she cannot prevail on a claim for
  12   failure to safeguard against § 1681b violations. The Court therefore grants Trans
  13   Union's motion to dismiss her FCRA § 1681e(a) claim.”). Here, Plaintiff makes no
  14   attempt to explain how Experian violated § 1681b(c). Rather, Plaintiff relies on the
  15   purported fact that Lend Tech sold Plaintiff’s information to UDS. But Plaintiff does
  16   not allege that Experian had any knowledge that Lend Tech was not issuing firm
  17   offers of credit or that it was reselling Plaintiff’s information to UDS.
  18         As Experian explained in its opening brief, Plaintiff “conflates the purpose for
  19   which a report is furnished and the purpose for which it is used.” Henderson, 161 F.
  20   Supp. 3d at 397 n.7. Indeed, that Lend Tech may have ultimately used Plaintiff’s
  21   report for an impermissible purpose does not mean that Experian violated § 1681b.
  22   See Harris v. Data Mgmt. & Mktg., Inc., 609 F. Supp. 2d 509, 514 (D. Md. 2009)
  23   (“[Plaintiff] argues that [CRA] violated Section 1681b by selling information from
  24   [plaintiff’s] consumer report to NameSeeker, which NameSeeker did not use for
  25   transactions involving firm offers of credit. However, NameSeeker’s ultimate use of
  26   [plaintiff’s] information is not determinative of [CRA’s] liability under the statute.”).
  27   Because Plaintiff fails to allege that Experian had any indicia that Lend Tech was not
  28   issuing firm offers of credit, he fails to plausibly allege that Experian violated
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    1   § 1681(b)(c)(1). For this reason alone, Plaintiff’s first cause of action must be
    2   dismissed.
    3         B.     Experian Did Not Violate § 1681e(a)
    4         Even if Plaintiff did sufficiently plead a violation § 1681(b)(c)(1), his first
    5   cause of action would still be subject to dismissal. Section 1681e(a) mandates that
    6   CRAs implement reasonable procedures to ensure compliance with § 1681b,
    7   including procedures requiring “prospective users of the information [to] identify
    8   themselves, certify the purposes for which the information is sought, and certify that
    9   the information will be used for no other purpose.” 15 U.S.C. § 1681e(a). In addition,
   10   “[e]very consumer reporting agency shall make a reasonable effort to verify the
   11   identity of a new prospective user and the uses certified by such prospective user
   12   prior to furnishing such user a consumer report.” Id.
   13         As Experian’s opening brief demonstrated, Plaintiff’s complaint fails to
   14   identify a single process or procedure Experian lacked, or failed to follow, in
   15   evaluating whether Lend Tech had a permissible purpose. Plaintiff’s opposition
   16   attempts to cure the deficiencies in his complaint by claiming that Experian violated
   17   the procedures outlined by the Federal Trade Commission (“FTC”) in its 2011 staff
   18   report. (ECF No. 34 at 14.) This is not only improper, 2 it is also futile. Indeed,
   19   Plaintiff does not (and cannot) allege that Experian failed to follow any of the
   20   procedures enumerated by the FTC. Moreover, unlike the authority upon which he
   21   relies, Plaintiff neither alleges that Experian knew that Lend Tech was not issuing
   22   firm offers of credit, nor that it knew that Lend Tech was impermissibly reselling
   23   Plaintiff’s student loan information to UDS. Cf. Aleksic v. Experian Info. Sols., Inc.,
   24   No. 13-cv-7802, 2014 WL 2769122, at *2 (N.D. Ill. June 18, 2014) (finding that
   25         2
                  See, e.g., Frenzel v. AliphCom, 76 F. Supp. 3d 999, 1009 (N.D. Cal. 2014)
   26   (“[I]t is axiomatic that the complaint may not be amended by the briefs in opposition
   27   to a motion to dismiss.”); Figg v. City of Fontana, No. 09-cv-01254-MMM, 2009
        WL 10674420, at *2 n.10 (C.D. Cal. Nov. 9, 2009) (“plaintiff cannot amend her
   28   complaint by asserting new claims in opposition to a motion to dismiss”).
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    1   plaintiff sufficiently stated a claim where it alleged that the CRA “knew the lenders
    2   were unlicensed and under investigation, which if true, required [it] to take additional
    3   steps to determine whether the lenders would use the data for permissible purposes”).
    4   In fact, Plaintiff’s authority highlights the deficiencies of his allegations. See id.
    5   (“The situation is different, however, for Experian. Plaintiffs do not allege that
    6   Experian had any reason to believe that Clarity’s certifications of its information
    7   requests were false or to suspect that the entities for whom Clarity obtained the
    8   information, i.e., the Internet lenders, might use it for an impermissible purpose.
    9   Absent such allegations, plaintiffs have not stated a viable FCRA claim against
   10   Experian.”).
   11         Plaintiff nevertheless claims that Experian lacked reasonable procedures
   12   because certain “red flags” existed at the time Lend Tech obtained his consumer
   13   report. Plaintiff is mistaken. First, Plaintiff is wrong that Lend Tech’s lack of a
   14   lending license should have raised questions about its permissible purpose. As
   15   Experian explained, it is Lend Tech’s designated broker who would have been listed
   16   under the National Multistate Licensing System (“NMLS”), as well as any lender
   17   with whom they were associated. Unable to dispute this, Plaintiff shifts his theory,
   18   contending—for the first time—that “both corporations and individuals are required
   19   to be licensed to operate as real estate brokers.” (ECF No. 34 at 16 (quoting Rose v.
   20   Seamless Fin. Corp. Inc., 916 F. Supp. 2d 1160, 1166 (S.D. Cal. 2013).) But Experian
   21   has never argued to the contrary. Indeed, a review of the California Department of
   22   Real Estate’s website plainly reveals that Lend Tech obtained a corporate broker’s
   23   license on August 11, 2017. 3 And, because “a real estate broker can perform services
   24   for both lenders and borrowers in connection with loans secured by liens on real
   25   property,” Bock v. Cal. Capital Loans, Inc., 216 Cal. App. 4th 264, 269 (2013), there
   26   was nothing suspect about Lend Tech’s lack of a lending license in the NMLS.
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   28         3
                  http://www2.dre.ca.gov/PublicASP/pplinfo.asp?License_id=02043494
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    1         Second, Lend Tech’s purportedly outdated address and nonworking telephone
    2   “at the time the information was published to Plaintiff’s consumer report” (whenever
    3   that might be) does not plausibly demonstrate that Experian failed to comply with its
    4   obligations under § 1681e(a). (ECF No. 34 at 17.) Indeed, as Experian explained in
    5   its opening brief, Plaintiff does not allege when Lend Tech’s address became
    6   outdated or its telephone stopped working, much less that those fact existed at the
    7   time Experian verified Lend Tech’s identity and obtained Lend Tech’s certification.
    8   In opposition, Plaintiff claims that it would be unreasonable “for Experian to merely
    9   have to verify the identity of Lend Tech’s once and have no follow-up verification
   10   for the contact information.” (ECF No. 34 at 17.) But Plaintiff does not (and cannot)
   11   allege that Experian communicated with Lend Tech or verified Lend Tech’s
   12   information only once. And, as Experian established, it is not required to verify Lend
   13   Tech’s permissible purpose each time it obtained prescreen credit reports. See
   14   Pietrafesa v. First Am. Real Estate Info. Servs., Inc., No. 05-cv-1450, 2007 WL
   15   710197, at *4 (N.D.N.Y. Mar. 6, 2007) (“It would be unreasonable to require credit
   16   reporting agencies processing a high number of requests to independently investigate
   17   each and every request to determine its legitimacy.” (citing Boothe v. TRW Credit
   18   Data, 557 F. Supp. 66, 71 (S.D.N.Y. 1982)).
   19         In a last ditch effort to save his claim, Plaintiff resorts to arguing that the
   20   reasonableness of Experian’s procedures is a question of fact. (ECF No. 34 at 17.)
   21   But Plaintiff must allege sufficient facts “to ‘state a claim to relief that is plausible
   22   on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp.
   23   v. Twombly, 550 U.S. 544, 547 (2007)). Because he has failed to do so here, his
   24   claim must be dismissed.
   25         C. Plaintiff Has Failed To Allege A Willful Violation
   26         Even if the Court finds that Plaintiff has sufficiently alleged a violation of
   27   either § 1681b(c)(1) or § 1681e(a), Plaintiff still fails to demonstrate that Experian
   28   acted willfully. As Experian established in its opening brief, Plaintiff’s complaint is
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    1   devoid of any factual allegations concerning Experian’s state of mind or its
    2   knowledge that Lend Tech was not using the prescreen reports for their intended
    3   purpose. Indeed, there is not a single allegation that Experian had any knowledge that
    4   Lend Tech was not sending firm offers of credit or that it was reselling consumers’
    5   information to UDS.
    6         Plaintiff attempts to sidestep these deficiencies by claiming that “Experian is
    7   a large corporation that regularly engaged counsel”; that “Experian’s income comes
    8   from selling the consumers data to its clients”; and that Experian is “one of the largest
    9   CRAs” who was “aware of its duties under the FCRA.” (ECF No. 34 at 19; see also
   10   Compl. at ¶ 59.) Accepting Plaintiff’s contentions would effectively transform every
   11   FCRA violation committed by Experian into a willful one, impermissibly imposing
   12   strict liability. See Guimond v. Trans Union Credit Info. Co., 45 F.3d 1329, 1333
   13   (9th Cir. 1995) (“The FCRA does not impose strict liability.”). In any event,
   14   Plaintiff’s generic and conclusory statements are not sufficient to state a willfulness
   15   claim under § 1681n. See Braun v. Client Servs., Inc., 14 F. Supp. 3d 391, 398
   16   (S.D.N.Y.) (dismissing plaintiff’s willfulness claim because it was pleaded “in
   17   conclusory fashion, and amount[ed] to nothing more than a formulaic recitation of
   18   the elements of a cause of action . . . . Defendant’s conduct could just as likely have
   19   been unintentional.”); Mnatsakanyan v. Goldsmith & Hull APC, No. 12-cv-4358-
   20   MMM-PLA, 2013 WL 10155707, at *7 (C.D. Cal. May 14, 2013) (dismissing
   21   plaintiff’s willfulness claim because the complaint did “not allege that [defendant]
   22   knew it lacked a permissible reason for making a credit inquiry at the time it
   23   inquired”); see also Perl v. Plains Commerce Bank, No. 11-cv-7972, 2012 WL
   24   760401, at *2 (S.D.N.Y. Mar. 8, 2012) (dismissing plaintiff’s willfulness claim,
   25   despite plaintiff sufficiently alleging that defendant “lacked a permissible purpose,”
   26   because “plaintiff's assertion that defendant’s state of mind in doing so was willful is
   27   conclusory”).
   28
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    1         Plaintiff’s conclusory assertions that Experian repeatedly violated the FCRA
    2   by furnishing prescreen reports is equally unavailing. “The plausibility standard is
    3   not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility
    4   that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550
    5   U.S. at 556). Because “it is just as possible, based on the factual allegations, that
    6   [Experian] made an innocent mistake,” Perl, 2012 WL 760401, at *2, Plaintiff’s
    7   claim that Experian willfully violated the FCRA by furnishing prescreen reports to
    8   Lend Tech must be dismissed.
    9      II. Count II Fails To State A Claim
   10         Plaintiff’s second cause of action alleges that Experian willfully violated the
   11   FCRA by purportedly disclosing Plaintiff’s total federal student loan debt on the
   12   prescreen report sold to Lend Tech. (Compl. at ¶¶ 64-68.) But, as Experian explained
   13   in its opening brief, Plaintiff’s second cause of action, like his first, distorts the
   14   requirements of the FCRA and fails to state any claim against Experian, much less a
   15   willful violation.
   16         A. Experian Did Not Violate § 1681(b)(c)(2)
   17         Plaintiff alleges that Experian willfully violated § 1681b(c)(2) by informing
   18   Lend Tech of his total outstanding federal student loan debt, which is purportedly
   19   owned and guaranteed by the U.S. Department of Education (the “USDE”).
   20   According to Plaintiff, Experian’s alleged disclosure of this information
   21   impermissibly identified his relationship with the USDE because the USDE owns all
   22   federal student loan debt. (Compl. at ¶¶ 65-67.) But, as Experian explained, a
   23   consumer does not have a direct relationship with the USDE. Rather, the servicer of
   24   a loan is the entity with whom a borrower has a relationship, and who administers
   25   the loan. See Student Loan Servicing All. v. D.C., 351 F. Supp. 3d 26, 39 (D.D.C.
   26   2018) (“Student loan servicers serve as a kind of middle-man between lenders and
   27   borrowers.”); (see also ECF No. 25-4.) Indeed, all federal student loans are
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    1   “assigned” to loan servicers, and borrowers are specifically instructed to direct all
    2   questions to their respective servicers. (Id. at 2-3.)
    3         Although Plaintiff claims that he has a relationship with the USDE because it
    4   “guarantees all federal student loans” and “could be considered a creditor,” these
    5   relationships are too attenuated to sufficiently “identify the relationship or experience
    6   of [a] consumer with respect to” the USDE in violation of § 1681b(c)(2). Thus,
    7   because Plaintiff does not (and cannot) allege that Experian disclosed his relationship
    8   with any particular servicer of his student loans, he cannot plausibly claim that
    9   Experian’s disclosure of his aggregate federal student loan debt ran afoul of
   10   § 1681b(c)(2).
   11         B.    Plaintiff Has Failed To Allege A Willful Violation
   12         Even if Experian’s disclosure of federal student loan debt did somehow
   13   impermissibly disclose the relationship of Plaintiff with the USDE, Plaintiff has not
   14   (and cannot) plausibly allege that Experian’s violation of § 1681b(c)(2) was willful.
   15   As Experian explained in its opening brief, a willful violation of the FCRA requires
   16   Plaintiff to show that Experian acted either with actual knowledge that its actions
   17   violated the FCRA or in “reckless disregard” of its statutory duty. Safeco Ins. Co. v.
   18   Burr, 551 U.S. 47, 57-58 (2007) (analyzing 15 U.S.C. § 1681n(a)). As the Supreme
   19   Court made clear in Safeco, a defendant does not act willfully under 15 U.S.C.
   20   § 1681n(a) unless its conduct was “objectively unreasonable” in light of “legal rules
   21   that were ‘clearly established’ at the time.” Id. at 69-70 (quoting Saucier v. Katz, 533
   22   U.S. 194, 202 (2001)). Thus, a claim for a willful violation fails unless the conduct
   23   at issue was clearly unlawful as established by either “pellucid statutory text” or an
   24   “authoritative” interpretation of that text by a federal court of appeals or the
   25   Consumer Finance Protection Bureau (“CFPB”). 4 Id. at 70; see also Levine v. World
   26   Fin. Network Nat’l Bank, 554 F.3d 1314, 1318-19 (11th Cir. 2009) (holding that a
   27         4
               Safeco refers to the Federal Trade Commission (“FTC”), the agency tasked
        with enforcing the FCRA in 2007. In 2011, the CFPB took over the FTC’s
   28   enforcement responsibilities, prompting the FTC to withdraw its statutory comments.
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    1   defendant “does not recklessly violate the [FCRA] when it acts in accord with an
    2   objectively reasonable interpretation of the Act.”).
    3         As Plaintiff has already acknowledged, there is “a lack of case law or
    4   regulatory guidance on the issue.” (See ECF No. 24 at 2.) And, as Experian
    5   demonstrated in its opening brief, courts have made clear that Congress intended
    6   prescreening to occur in the context of student loans when it enacted the Higher
    7   Education Act (“HEA”). See McDonald v. Nelnet, Inc., 477 F. Supp. 2d 1010, 1014-
    8   15 (E.D. Mo. 2007); Schwartz v. Goal Financial LLC, 485 F. Supp. 2d 170, 174-78
    9   (E.D. N.Y. 2007). These courts have never indicated that disclosing student loan
   10   information in the prescreening process runs afoul of § 1681b(c)(2). Id. Tellingly,
   11   Plaintiff makes no attempt to address these authorities. Instead, he baselessly claims
   12   that the language of the statute is clear, and that the issue of willfulness is question
   13   of fact. But such conclusory assertions are not sufficient to establish a willful
   14   violation. See, e.g., Braun, 14 F. Supp. 3d at 398. Indeed, “[w]ithout clear authority
   15   to the contrary, Experian’s procedures do not amount to a willful violation” of the
   16   prescreening process. Sheldon v. Experian Info. Sols., Inc., No. 08-cv-5193, 2010
   17   WL 3768362, at *6 (E.D. Pa. Sept. 28, 2010); see also Banga v. Experian Info. Sols.,
   18   Inc., No. 09-cv-04867, 2013 WL 5539690, at *6 (N.D. Cal. Sept. 30, 2013) (finding
   19   that plaintiff failed to establish a willful violation where he “does not cite any
   20   statutory language or any guidance from the courts of appeal or the Federal Trade
   21   Commission that renders Experian’s reading of the FCRA objectively
   22   unreasonable”). Thus, even if Experian’s purported disclosure of Plaintiff’s federal
   23   student loan debt ran afoul of § 1681b(c)(2), Plaintiff still could not show that
   24   Experian’s violation was willful. Accordingly, Plaintiff’s second cause of action
   25   must be dismissed.
   26      III. Leave To Amend Should Not Be Granted
   27         A court may dismiss a claim without leave to amend if the plaintiff cannot cure
   28   a defect by amending to allege additional facts. See Lopez v. Smith, 203 F.3d 1122,
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    1   1130 (9th Cir. 2000); DeSoto v. Yellow Freight Sys. Inc., 957 F.2d 655, 658 (9th Cir.
    2   1992); Albrecht v. Lund, 845 F.2d 193, 195 (9th Cir. 1988). As Experian argued in
    3   its opening brief, Plaintiff cannot allege any additional facts that would save his
    4   claims because his claims are based on a misunderstanding of the prescreening
    5   process and the requirements under the FCRA. While Plaintiff asserts that he should
    6   be afforded an opportunity to amend his complaint, he conspicuously fails to identify
    7   a single factual allegation he would make to cure the numerous defects Experian has
    8   identified in his claims. Accordingly, dismissal of the complaint as to Experian
    9   without leave to amend is warranted.
   10                                    CONCLUSION
   11         For the foregoing reasons, and as set forth in Experian’s opening brief,
   12   Plaintiff’s complaint as to Experian should be dismissed in its entirety pursuant to
   13   Rule 12(b)(6).
   14
        Dated:      August 30, 2019
   15
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